Case 3:22-cv-00058-RBM-BLM Document 8 Filed 02/08/22 PageID.128 Page 1 of 3




  1 ZACHARY CANTOR (SBN 270507)
    CANTOR LAW
  2 1112 Montana Avenue, Suite C
    Santa Monica, CA 90403
  3 T. 310.393.6620
    F. 310.393.6680
  4 W. CantorLawyers.com
    Attorney for Plaintiff,
  5 DENNIS CRIMMINS
  6
  7
                               UNITED STATES DISTRICT COURT
  8
                          SOUTHERN DISTRICT OF CALIFORNIA
  9
10
      DENNIS CRIMMINS,                            Case No. 3:22-cv-00058-BAS-BLM
11
                  Plaintiff,                      PLAINTIFFS’ NOTICE OF
12                                                WITHDRAWAL OF REQUEST FOR
           vs.                                    DISMISSAL WITH PREJUDICE
13
   NOURYON SURFACE CHEMISTRY,
14 LLC, a California Limited Liability
   Company; THE CARLYLE GROUP,                    Trial Date:      None Set
15 INC., a California Corporation;
   CHARLIE SHAVER; an Individual; ‘
16 SUZANNE M. CARROLL, an
   Individual; BAHAR AZIMIPOUR, an
17 Individual;’and DOES 1 through 25,
   Inclusive,
18
                Defendant.
19
20         PLEASE TAKE NOTICE THAT Plaintiff hereby withdraws Plaintiff’s
21 Request for Dismissal with Prejudice because the document was filed using the wrong
22 event. Plaintiff will refile using the correct event.
23
24
25
26
27
28
                                                            Case No. 3:22-cv-00058-BAS-BLM
        PLAINTIFFS’ NOTICE OF WITHDRAWAL OF REQUEST FOR DISMISSAL WITH PREJUDICE
Case 3:22-cv-00058-RBM-BLM Document 8 Filed 02/08/22 PageID.129 Page 2 of 3




  1                                     Respectfully submitted,
  2 DATED: February 7, 2022             CANTOR LAW
  3
  4
                                        By:         /S/ ZACHARY CANTOR
  5
                                              ZACHARY M. CANTOR
  6                                           Attorneys for Plaintiff, DENNIS
  7                                           CRIMMINS

  8
  9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

                                           2               Case No. 3:22-cv-00058-BAS-BLM
       PLAINTIFFS’ NOTICE OF WITHDRAWAL OF REQUEST FOR DISMISSAL WITH PREJUDICE
Case 3:22-cv-00058-RBM-BLM Document 8 Filed 02/08/22 PageID.130 Page 3 of 3




  1
                                            CERTIFICATE OF SERVICE
  2
      I, Zachary Cantor, declare as follows:
  3
      I am over the age of eighteen years and not a party to the case. I am employed in the County of Los
  4   Angeles, California. My business address is: 1112 Montana Avenue, Suite C, Santa Monica, CA
      90403
  5
      On the date below I electronically filed with the Court through its CM/ECF program and served through
  6   the same program the following document(s): PLAINTIFFS’ NOTICE OF WITHDRAWAL OFREQUEST
      FOR DISMISSAL WITH PREJUDICE
  7   on all interested parties, by causing a true copy thereof to be mailed in a sealed envelope with postage
      thereon fully prepaid, to the address as follows:
  8
   LEWIS BRISBOIS BISGAARD & SMITH LLP
 9 ASHLEIGH R. KASPER, SB# 294963
    E-Mail: Ashleigh.Kasper@lewisbrisbois.com
10 633 West 5th Street, Suite 4000
   Los Angeles, California 90071
11 Telephone: 213.250.1800
   Facsimile: 213.250.7900
12
   Attorneys for Defendants,
13 NOURYON SURFACE CHEMISTRY,
   LLC, THE CARLYLE GROUP,
14 CHARLIE SHAVER, SUZANNE M.
   CARROLL and BAHAR AZIMIPOUR
15
16    [X]      (ELECTRONICALLY) Pursuant to the CM/ECF System, registration as a CM/ECF user constitutes
               consent to electronic service through the Court's transmission facilities. The Court’s CM/ECF
17             system sends an email notification of the filing to the parties and counsel of record listed above who
               are registered with the Court's CM/ECF system.
18
19    [X]      (FEDERAL) I declare that I am employed in the office of a member of the bar of this court at whose
               direction the service was made. I declare under penalty of perjury, under the laws of the United
20             States of America that the foregoing is true and correct.

21    I declare under penalty under perjury under the laws of the State of California that the foregoing is true and
      correct. Executed on June 17, 2021 at Santa Barbara, California.
22
23                                                       /s/ Zachary Cantor
                                                         Zachary Cantor
24
25
26
27
28

                                                3               Case No. 3:22-cv-00058-BAS-BLM
            PLAINTIFFS’ NOTICE OF WITHDRAWAL OF REQUEST FOR DISMISSAL WITH PREJUDICE
